Case 2:18-cv-10069-AB-JPR Document 18-2 Filed 02/20/19 Page 1 of 1 Page ID #:147



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 10
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 11
                               UNITED STATES DISTRICT COURT
 12
                              CENTRAL DISTRICT OF CALIFORNIA
 13
       SOVEREIGN PEAK VENTURES,                 CASE NO. 2:18-cv-10069-AB-JPR
 14    LLC
 15                                                 [PROPOSED] ORDER GRANTING
                    Plaintiff,                      JOINT STIPULATION TO EXTEND
 16           v.                                    TIME TO RESPOND TO
                                                    COMPLAINT
 17    FEIT ELECTRIC COMPANY,
       INC.,
 18                                                 Complaint Served: 12/5/18
                                                    Current Response Date: 2/21/19
 19                 Defendant.                      New Response Date: 3/25/19
 20
 21
             For good cause, the Court hereby GRANTS the parties’ Joint Stipulation to
 22
       Extend Time to Respond to Complaint. Accordingly, Defendant Feit Electric
 23
       Company, Inc. shall have until March 25, 2019 to respond to the Complaint.
 24
             IT IS SO ORDERED.
 25
 26    Dated: ______________                _____________________________
 27                                         Honorable Andre Birotte Jr.
                                            UNITED STATES DISTRICT JUDGE
 28
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                                     [PROPOSED] ORDER – CASE NO. 2:18-CV-10069
